        Case 3:21-cv-01635-MEM-DB Document 10 Filed 11/15/21 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF PENNSYLVANIA

SUSHOVAN HUSSAIN,                        :
a/k/a Hasan Taraque                          CIVIL ACTION NO. 3:21-1635
                                         :
                         Petitioner
                                         :        (JUDGE MANNION)
                   v.
                                         :
WARDEN RACHEL THOMPSON,
                                         :
                         Respondent


                                      ORDER


        In accordance with this court’s memorandum issued this same day, IT

IS HEREBY ORDERED THAT:

        1. Hussain’s petition for a writ of habeas corpus (Doc. 1),
             pursuant to 28 U.S.C. §2241 is DISMISSED without prejudice.

        2. Hussain’s motion for temporary restraining order (Doc. 5) is
             DISMISSED as moot.

        3. The Clerk of Court is directed to CLOSE the above captioned
             case.


                                  s/ Malachy E. Mannion
                                  MALACHY E. MANNION
                                  United States District Judge


Dated: November 15, 2021
21-1635-01-Order
